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Case 3:21-md-02981-JD Document 1041-1

Filed 11/11/24 Page 1 of2

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE GOOGLE PLAY STORE
ANTITRUST LITIGATION

THIS DOCUMENT RELATES TO:

Epic Games Inc. v. Google LLC et al., Case
No. 3:20-cv-05671-JD

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Case No. 3:21-md-02981-JD

[PROPOSED] ORDER GRANTING
JOINT REQUEST REGARDING ENTRY
OF JUDGMENT AND ATTORNEY’S
FEES AND COSTS

Judge: Hon. James Donato

[PROPOSED] ORDER GRANTING JOINT REQUEST
REGARDING ENTRY OF JUDGMENT & ATTORNEY’S FEES AND COSTS
Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD

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Case 3:21-md-02981-JD Document 1041-1 Filed 11/11/24 Page 2of2

This Court, having considered the “Joint Notice Regarding Entry of Judgment and
Attorney’s Fees and Costs,” submitted by the parties in the above-captioned matter, hereby
ORDERS that the parties’ joint request is GRANTED.

1. The Court will enter judgment in this matter prior to the resolution of Epic’s
request for attorney’s fees and costs. Epic shall pay damages on Google’s counterclaim within 30
days of entry of this order. The damages shall be paid out of the escrow account created pursuant
to Section 2 of the Joint Stipulation and Order Regarding Epic Games, Inc.’s Request for
Preliminary Relief. (MDL Dkt. 239 at 3.) Any excess or deficiency in the amount in the escrow
account shall be addressed as specified in Section 4 of the Joint Stipulation and Order. (/d. at 3-4).

2. The Court hereby defers the briefing schedule for Epic’s motion for attorney’s fees
and costs until such time as the Parties have met and conferred on this issue. The parties will
promptly advise the Court of the resolution of this matter or, absent resolution, of the need to set a
briefing schedule on attorney’s fees and costs. This Order modifies the timing requirements set
forth in Rule 54(d)(2)(B) of the Federal Rules of Civil Procedure and Rules 54-1(a) and 54-5(a) of
the Civil Local Rules.

IT IS SO ORDERED.

DATED: November __, 2024

HON. JAMES DONATO
United States District Judge

-2-

[PROPOSED] ORDER GRANTING JOINT REQUEST
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